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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8    UNITED STATES OF AMERICA,
 9                                                       CASE NO. CR05-215 MJP

10            Plaintiff,                                 PROPOSED FINDINGS OF
11                                                       FACT AND DETERMINATION
                 v.                                      AS TO ALLEGED VIOLATIONS
12                                                       OF SUPERVISED RELEASE
      PATRICK SCOTT BRACKETT,
13
              Defendant.
14
15                                          INTRODUCTION

16        I conducted a hearing on alleged violations of supervised release in this case on June 19,

17   2006, followed by an Evidentiary Hearing on June 29, 2006. The United States was represented

18   by Mark Parrent and Janet Freeman. The defendant was represented by Stewart Riley. The

19   proceedings were recorded on disk.

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21                                 CONVICTION AND SENTENCE

22        Defendant had been convicted of Conspiracy to Commit Bank Fraud on or about January 12,

23   2006. The Hon. Marsha J. Pechman of this court sentenced Defendant to eight months of

24   confinement, followed by five years of supervised release.

25        The conditions of supervised release included requirements that defendant comply with the

26   standard 13 conditions.

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     PROPOSED FINDINGS
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 1                                       DEFENDANT'S ADMISSION
 2         USPO Lisa Combs alleged that Defendant violated the conditions of supervised release in two
 3   (2) respects:
 4         (1)       Failing to complete 180 days in a community corrections center, in violation of the
 5                   special condition that he reside in and satisfactorily participate in a community
 6                   corrections center as a condition of supervised release for up to 180 days, or until
 7                   discharged by the probation officer with the permission of the center director; and
 8         (2)       Failing to report for drug testing as instructed on April 13, 19; and May 3, 11, 25, 31,
 9                   all in 2006, in violation of special condition No. 1.
10         At an initial hearing, I advised the defendant of these charges and of his constitutional rights
11   and Defendant admitted violation No. 1. At today’s hearing the Government dismissed violation
12   No. 2. Both matters will be set for a disposition hearing before the Hon. Marsha J. Pechman.
13                          RECOMMENDED FINDINGS AND CONCLUSIONS
14         Based upon the foregoing, I recommend the court find that Defendant has violated conditions
15   of his supervised release as alleged in violation No. 1, and set the matter for a disposition hearing.
16         Defendant has been detained pending a final determination by the court.
17         DATED this 29th day of June, 2006.



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                                                     Monica J. Benton
21                                                   U.S. Magistrate Judge
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     cc:   Sentencing Judge                 :        Hon. Marsha J. Pechman
24         Assistant U.S. Attorney          :        Mark Parrent, Janet Freeman
25         Defense Attorney                 :        Stewart Riley
           U. S. Probation Officer          :        Lisa Combs, Brian Facklam
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     PROPOSED FINDINGS
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